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[VIA ELECTRONIC FILING]

The Honorable Elizabeth C. Coombe
U.S. District Judge
U.S. District Court for the Northern District of New York
James M. Hanley Federal Building & U.S. Courthouse
100 S. Clinton St.
Syracuse, NY 13261

To The Honorable Elizabeth C. Coombe:

The undersigned respectfully submits this update pursuant to the Court’s Text Order (ECF No.
45). Plaintiffs are imminently filing affidavits from a service processor confirming service of all
but one Defendant. The outstanding affidavit is regarding service of ICE Buffalo Field Office
Director Thomas Brophy. The undersigned spoke to Mr. Benjamin Moss of the Department of
Justice at roughly 3:00 pm and 4:00 pm, and Mr. Moss informed the undersigned that Defendants
would not consent to waive service of Field Office Director Brophy.

/s/Eric Lee

Counsel for Plaintiffs
